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                                    EXHIBIT E

                                    Sale Order




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The relief described hereinbelow is SO ORDERED.

SIGNED this 27th day of July, 2022.




 ________________________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF KANSAS

                                                      )
 In re:                                               )
                                                      )
 US Real Estate Equity Builder, LLC, and              ) Case No. 20-21358-11
 US Real Estate Equity Builder Dayton, LLC,           )
                                                      ) (Jointly Administered)
                                        Debtors.      )



  ORDER (A) ORDER APPROVING (A) THE SALE REAL PROPERTY FREE AND
   CLEAR OF ALL LIENS, INTERESTS, CLAIMS AND ENCUMBRANCES AND
 RELATED PROCEDURES AND BID PROTECTION PURSUANT TO 11 U.S.C. § 363,
     (B) THE POTENTIAL ASSUMPTION AND ASSIGNMENT OF CERTAIN
    EXECUTORY CONTRACTS AND UNEXPIRED LEASES, AND RELATED
   PROCEDURES, PURSUANT TO 11 U.S.C. § 365, AND (C) RELATED RELIEF
                  PURSUANT TO 11 U.S.C. §§ 102 AND 105

          This matter comes before the Court upon the Motion to Approve (a) Sale of Real Property

Free and Clear of All Liens, Interests, Claims and Encumbrances, and Related Procedures and

Bid Protection Pursuant to 11 U.S.C. § 363, (b) the Potential Assumption and Assignment of

Certain Executory Contracts and Unexpired Leases, and Related Procedures Pursuant to 11

U.S.C. § 365, and (c) Related Relief Pursuant to 11 U.S.C. §§ 102 and 105 [Dkt. 600, refiled under




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different event at Dkt. 612 on April 19, 2022] (the “Motion”),1 filed by Eric L. Johnson

(“Trustee”), the Chapter 11 trustee of US Real Estate Equity Builder, LLC (“Debtor’), the

Response to Motion to Sell [Dkt. 621] (the “Response”) filed by 1 Big Red, LLC (“1 Big Red”),

the Limited Objection to Motion to Sell [Dkt. 651] (the “Limited Objection”) filed by Sean

Tarpenning, the Trustee’s Reply to 1 Big Red, LLC’s Response/ Objection to Motion to Sell [Dkts.

626 and 627], the Trustee’s Reply to Sean Tarpenning’s Objection to Motion to Sell [Dkt. 652],

and PS Funding, Inc.’s Reply to Sean Tarpenning’s Objection to Motion to Sell [Dkts. 655 and

656].

          Having heard arguments in support of, and in opposition to, the Motion, and for the reasons

detailed in this order and as detailed in the Court’s bench decision on July 6, 2022, which is hereby

incorporated by reference, the Court finds and determines that:

          1.       The Court has jurisdiction to consider the Motion and the relief requested therein

pursuant to 28 U.S.C. §§ 157 and 1334, the consideration of the Motion and the relief requested

therein is a core proceeding pursuant to 28 U.S.C. § 157(b), and venue is proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409.

          2.       On April 15, 2022, the Trustee filed the Motion seeking to sell the Debtor’s real

property commonly known and numbered as 440 E. 63rd St., Kansas City, Missouri 64110 and

legally described as:

                   Lots 3, 4, 5 and 6, Block 1, ASTOR PLACE, a subdivision in Kansas City,
                   Jackson County, Missouri.

(the “Property”) [Dkt. 600].




1
    Capitalized terms that are not defined herein shall have the meanings given to them in the Bid Procedures.




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       3.      On June 10, 2022, the Court entered an Order (A) Approving Bidding Procedures

for the Sale of Debtor’s Property Free and Clear of Liens, Claims, Encumbrances, and Interests,

(B) Authorizing the Debtor’s Entry Into a Stalking Horse Agreement, (C) Establishing Procedures

for the Assumption and Assignment of Certain Executory Contracts and Unexpired Leases, (D)

Approving the Form and Manner of Related Notices, (E) Scheduling a Hearing to Consider the

Proposed Sale, and (F) Related Relief Pursuant to 11 U.S.C. § 105 [Dkt. 640] (the “Bid

Procedures Order”). The Bid Procedures Order approved certain Bid Procedures and other relief

requested in the Motion.

       4.      As reflected in the Certificate of Service [Dkt. 619] filed with respect to the Motion

[Dkt. 600] and Notice of Objection Deadline and Bid Procedures Hearing [Dkt. 601], the Motion

and Notice of Objection Deadline and Bid Procedures Hearing was served via the Court’s

electronic filing system on those parties receiving electronic notice by such system, and on all

other parties identified in the certificate of service, including the mailing matrix for the case, via

U.S. Mail.

       5.      As evidenced by the Certificate of Service filed with respect to the Order to

Continue the Bid Procedures Hearing [Dkt. 633], notice of the Continued Bid Procedures Hearing

was served via the Court’s electronic filing system on those parties receiving electronic notice by

such system, and on all other parties identified in the certificate of service, including the mailing

matrix for the case, via U.S. Mail.

       6.      As evidenced by the Certificate of Service filed on June 14, 2022 [Dkt. 641], the

Bid Procedures Order was served via the Court’s electronic filing system on those parties receiving

electronic notice by such system, and on all other parties identified in the certificate of service,

including the mailing matrix for the case, via U.S. Mail.



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       7.      The Court finds the scope and manner of notice and service to be proper, timely,

adequate, and sufficient in accordance with Bankruptcy Code §§ 105(a), 363 and 365 and

Bankruptcy Rules 2002, 6004, 6006, 6007, and 9014, and in compliance with the Bid Procedures

Order. No further notice of the Motion, the Bid Procedures, the Auction, the Sale Hearing, or the

assignment and assumption of the Assumed Contracts is or shall be required.

       8.      A reasonable opportunity to object or to be heard regarding the relief requested in

the Motion has been afforded to all creditors and parties in interest.

       9.      The Trustee has conducted the sale process in compliance with the Bid Procedures

Order and has completed a full, fair, and complete auction process.

       10.     On June 23, 2022, the auction (the “Auction”) of the Property was held both

virtually and in person. Prior to the Auction, the Court had approved the stalking horse purchase

agreement of Dutton Ranch, LLC (the “Stalking Horse”), which was subject to competing bids.

There were three additional competing bids: (1) Gary Roles (“Roles”), (2) USA Regrowth, LLC

(“URL”), and (3) PS Funding, Inc. The Auction was conducted in two phases. In the first phase,

the non-stalking horse purchasers would bid against each other. In the second phase, the Phase 1

winning bid would compete against the Stalking Horse, who had the right to match any bid without

advancing a new bid.

       11.     PS Funding, Inc. (“PS Funding” or “Purchaser”) made an initial credit bid of

$717,000 for the Property (the “Credit Bid”). Through various rounds of bidding, PS Funding

increased the Credit Bid to $880,000.00 (not including the buyer’s premium). After PS Funding’s

last bid, the Stalking Horse declined to match, whereupon in consultation with Committee’s

counsel, the Trustee concluded that the Credit Bid was the highest and best offer for the Property.




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       12.     On June 23, 2022, the Trustee filed his Notice of Auction Results [Dkt 646] (the

“Auction Report”) identifying the Property and the various bids related to the same, which are

detailed as follows:

 Highest Bidder                 Highest Bid
 PS Funding, Inc.               (Credit Bid) $880,000.00, plus $52,800.00 (6%) buyer's premium, for a
                                total purchase price of $932,800.00.

                                The purchase price shall be payable as a credit except where cash is
                                required as indicated in the bidding procedures order.

 First Backup Bidder            First Backup Bid
 Dutton Ranch, LLC              $870,000.00, plus $52,200.00 (6%) buyer's premium, for a total
 (“Stalking Horse”)             purchase price of $922,200.00.

 Second Backup Bidder           Second Backup Bid
 Gary Roles                     $800,000.00 plus $48,000.00 (6%) buyer’s premium, for the total
                                purchase price of $848,000.00
 Third Backup Bidder            Third Backup Bid
 USA Regrowth Fund,             $820,000.00 plus $49,200.00 (6%) buyer’s premium, for the total
 LLC                            purchase price of $869,200.00.

                                Commercial lease(s) to be rejected.


       13.     On July 6, 2022, the Motion came before the Court. Other than the Limited

Objection and the Response, there were no other objections to the Motion and approval of the

proposed sale. As set forth in more detail in the Court’s bench decision on July 6, 2022, the Court

finds that PS Funding is approved as the successful bidder for the Property for the amount of

$880,000 (the “Purchase Price”), plus $52,800 (6%) buyer’s premium (the “Buyer’s Premium”),

for a total price of $932,800

       14.     At the time of closing, PS Funding shall pay to the Title Company an amount to

cover: (a) the fourteen percent (14%) carveout ($123,200) (the “Carveout”); (b) an amount

sufficient to pay the estate’s share of the closing costs; and (c) outstanding real property taxes, tax

liens, and ad valorem taxes (collectively, the “Cash Component”) included in the PSA.


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        15.      The Trustee is further authorized and directed to transfer the Carveout to his

operating account for the benefit of administrative expenses and unsecured creditors, free and clear

of liens.

        16.      The Cash Component does not include the Buyer’s Premium, which shall be paid

in addition to the Cash Component.

        17.      The Auction conducted by the Trustee, including the methodology for determining

the highest and best offers, was conducted in a manner that was reasonably calculated to achieve

the highest and best offers for the Property. In fact, the final bid exceeded in the initial Stalking

Horse offer by $172,000.00. The Auction was conducted in a non-collusive, fair and good-faith

manner and a reasonable opportunity has been given to any interested party to make a higher or

otherwise better offer for the Property.

        18.      The Trustee has full power and authority to execute a Purchase and Sale Agreement

that is substantially similar to the form attached to this Order as Exhibit 1 (“PSA”),2 as well as all

other documents referenced in or contemplated by the PSA or that are necessary or appropriate to

effectuate the sale of the Property as contemplated under the PSA.3 All actions contemplated by

the PSA have been duly and validly authorized and the Trustee has the full power and authority to

consummate the transactions contemplated by the PSA. No further consents or approvals, other

than the entry of this Order and any necessary approval by the any state regulatory authorities are

required for the Trustee to consummate the transactions contemplated in the PSA.




2
  The PSA is in a form substantially similar as what was previously filed as an Exhibit 3 to the Motion [Dkt. 600-3]
and approved pursuant to the Bid Procedures Order.
3
 To the extent the Trustee is required to look to the First Back-Up Bidder or the Second Back-Up Bidder, such bidders
shall be required to executed a PSA is that is substantially the same as PSA executed by the Highest Bidder, such
agreement is also approved and incorporated into the defined term “PSA” for purposes of this Order.


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       19.      The PSA was negotiated, proposed, and entered into by the Trustee and Purchaser

in good faith, without collusion, and was the result of arm’s-length bargaining with the parties

and/or the parties’ independent counsel.

       20.      The Purchaser is a good-faith purchaser of the Property under Bankruptcy Code §

363(m) and, as such, are entitled to all of the protections afforded thereby. The Purchaser has acted

in good-faith within the meaning of Bankruptcy Code § 363(m) prior to entry of this Order and

the Purchaser may rely on entry of this Order and this good-faith determination in closing such

transactions.

       21.      The sale of the Property to the Purchaser pursuant to the PSA is reasonable and

appropriate under the circumstances. The Trustee is authorized to sell the Property free and clear

of all liens, claims, encumbrances, and other interests (except as otherwise provided herein or in

the PSA) (collectively, “Liens”), as one or more of the standards set forth in Bankruptcy Code §

363(f) have been satisfied with respect to each such lien, claim, encumbrance, and other interest.

The transfers of the Property to the Purchaser pursuant to the PSA will be a legal, valid, and

effective transfer of the Property and will vest Purchaser with all of the Debtor’s rights, title, and

interest in and to the Property free and clear of all liens, claims, encumbrances, and other interests

(except as otherwise provided herein or in the PSA), which have, or could have, been asserted by

the Debtor, its creditors, or other holders of such liens, claims, encumbrances, and other interests.

       22.      As demonstrated in the preliminary title work that was attached as Exhibit 4 to the

Trustee’s Reply to Sean Tarpenning’s Objection to Motion to Sell [Dkt. 652], the following Liens

are associated with the Property:

                a.     Deed of Trust dated December 19, 2018, recorded January 4, 2019, as
                       Document No. 2019E0000812, from US Real Estate Equity Builder, LLC,
                       to Nachman Registered, Inc., Trustee for Aloha Capital, LLC, in the original
                       amount of $937,500.00, which was last assigned to PS Funding, Inc., by


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                          Assignment recorded January 29, 2019 as Document No. 2019E0006898;
                          Centre Trustee Corp. appointed successor trustee by instrument filed
                          October 1, 2019 as Document No. 2019E0079203.

                 b.       Deed of Trust dated January 17, 2019, recorded January 22, 2019, as
                          Document No. 2019E0004669, from US Real Estate Equity Builders, LLC,
                          to Walter C. Whisler, Trustee for USA Regrowth Fund, LLC, in the original
                          amount of $320,000.00.

                 c.       Partial Release of the Deed of Trust dated June 4, 2020, recorded June 16,
                          2020, as Document No. 2020E0050177, from 1 Big Red, LLC and US Real
                          Estate Equity Builder, LLC, to Walter C. Whisler, Trustee for Guardians of
                          Travel, LLC, in the original amount of $625,000.00.

For the avoidance of doubt, the inclusion of the above Liens is not intended to limit the “free and

clear” nature of the sale approved by the Court, but is for informational purposes only.

        23.      Any holder of a Lien also will be adequately protected by having its Liens, if any,

attach to the cash proceeds received by the Trustee for the sale of the Purchased Assets to the

Purchaser, in the same order of priority, with the same validity, force, and effect that such creditor

has prior to such sale, subject to any claims and defenses that the Trustee and the Debtor’s

bankruptcy estate may possess with respect thereto.4 Accordingly, pursuant to Section 363(f) of

the Bankruptcy Code, this Order authorizes the sale of the Purchased Assets to UMB, free and

clear of any such Liens.

        24.      As set forth in the Response [Dkt. 621, 1 Big Red also asserts a purported

mechanic’s lien to the Property. However, as indicated in the Trustee’s Reply to 1 Big Red, LLC’s

Response/ Objection to Motion to Sell [Dkts. 626 and 627], such lien is defective on its face and

would be subsequent to the prior the Liens identified above. As such, the relief sought in the

Response is hereby overruled.




4
 For the avoidance of doubt, no Liens shall attach to the Carveout and it shall be unencumbered property of the
bankruptcy estate.

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       25.     The Purchaser would not have entered into the PSA and would not consummate the

transactions contemplated thereby if either (i) the sale and the assignment of the Property were not

free and clear of all liens, claims, encumbrances, and other interests of any kind or nature

whatsoever (except as otherwise provided herein or in the PSA), or (ii) the Purchaser would, or in

the future could, be liable for any of such liens, claims, encumbrances, and other interests (except

as otherwise provided herein or in the PSA).

       26.     Except as otherwise distinguished in this Order, the assumption and assignment of

the contract(s) and lease(s) identified in the PSA including the Alpha One Property Management

lease (collectively, the “Assumed Contracts”) is integral to the PSA, is in the best interests of the

Debtor’s estate, creditors, and other parties in interest, and represents a reasonable exercise of

sound and prudent business judgment by the Trustee.

       27.     There are no outstanding cure amounts for the Assumed Contracts. The Trustee

shall have no further liability or obligation under the Assumed Contracts, and Purchaser shall have

no obligation to make any payment or provide any performance to cure any default or breaches

arising on or before the closing under the PSA.

       28.     The Purchaser has demonstrated adequate assurance of future performance under

the Assumed Contracts that will be assumed and assigned pursuant to this Order.

       29.     Subject to the terms of the PSA and the occurrence of the respective closing date,

the assumption by the Trustee and the Assumed Contracts and the assignment of such Assumed

Contracts, as provided for or contemplated by the PSA, is hereby authorized and approved

pursuant to Bankruptcy Code §§ 363 and 365.

       30.     If ultimately URL becomes the purchaser because the other bidders fail to close and

otherwise elects not to take assignment of the Assigned Contracts, then upon filing a notice with



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the Court (“Notice of Election”), the contract(s) and lease(s) associated with the Property will be

deemed rejected pursuant to Bankruptcy Code § 365(b) as of the date such notice is filed with the

Court; provided, however, such rejection remains subject to tenant rights under Bankruptcy Code

§ 365(h).

        31.     Notwithstanding the provisions of Bankruptcy Rules 6004(h) and 6006(d), the stay

pursuant to Bankruptcy Rule 6004(h) or 6006(d) is hereby waived and this Order shall be effective

and enforceable immediately upon entry.

        32.     To the extent necessary under Bankruptcy Rule 9014 and Rule 54(b) of the Federal

Rules of Civil Procedure, as made applicable by Bankruptcy Rule 7054, the Court expressly finds

that cause exists not to delay the implementation of this Order due to the time, effort, expense, and

risk of delaying any closing under the PSA.

        33.     This Order constitutes a final order within the meaning of 28 U.S.C. § 158(a) upon

its entry.

        34.     The findings of fact set forth above and conclusions of law stated herein shall

constitute this Court's findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052,

made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent any finding

of fact later shall be determined to be a conclusion of law, it shall be so deemed, and to the extent

any conclusion of law later shall be determined to be a finding of fact, it shall be so deemed.

     BASED ON THE FOREGOING FINDINGS OF FACT, GOOD CAUSE EXISTS
FOR ENTRY OF THE FOLLOWING ORDER. IT IS THEREFORE ORDERED:

        35.     The notice of the Motion and Sale Hearing and notice of the assumption and

assignment of the Assumed Contracts are approved as being fair, reasonable and adequate under

the circumstances of these cases, and any additional notice as may otherwise be required under

state and federal law is hereby deemed satisfied.


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       36.       The Motion is GRANTED as set forth herein and the sale of the Property and

assumption and assignment of the Assumed Contracts to the Purchaser is hereby authorized as set

forth in this Order. Such assumption and assignment will not be effective until the sale transaction

of the Property is closed. In the instance where URL becomes the purchaser and elects not to take

an assignment of the Assumed Contracts, then the lease(s) and contract(s), then the lease(s) and

contract(s) identified in the Notice of Election shall be deemed rejected as of the date of the filing

of the notice.

       37.       All objections to the Motion as it relates to the Property including, without

limitation, the relief sought in the Response that have not been withdrawn, waived, or settled, and

all reservations of rights included therein, are hereby OVERRULED on the merits as to the sale

of the Property contemplated by this Order.

       38.       The Trustee and the Purchaser have complied with the Bid Procedures Order.

       39.       P.S. Funding is the successful bidder of the Property via credit bid and pursue

Bankruptcy Code § 363(k).

       40.       Pursuant to 11 U.S.C. §§ 105 and 363, the Trustee is authorized and directed to

consummate the sale of the Property, pursuant to and in accordance with the terms and conditions

of the PSA and this Order, including, without limitation, to convey to PS Funding, or its successor

or assigns, the Property. PS Funding may assign its purchase rights to another party as long as

such assignment is disclosed to the Trustee and the Court prior to closing and such assignment

does not violate 11 U.S.C. § 363(n). For the avoidance of doubt, to the extent such purchase rights

are assigned to an affiliated entity, it shall be presumed that such sale is not in violation of 11

U.S.C. § 363(n), but such presumption may be rebutted. If such assignment occurs, references to

“Purchaser” shall also mean PS Funding’s successor and assign.



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        41.     For the avoidance of doubt, the Purchase Price (except for the Cash Component)

shall be offset against PS Funding’s secured claims, with the balance of such claims continuing to

be due and owing and secured by any remaining collateral subject to any applicable defense or

claim. PS Funding, within twenty-one (21) days of Closing, shall file revised proofs of claim

reflecting the credit bid.

        42.     The Cash Component of the Credit Bid is approved. If the actual amount of the

Cash Component changes, then so shall the credit component of the Credit Bid in a corresponding

amount. At Closing (as such term is defined in the Credit Bid), Purchaser is directed to pay the

Cash Component of the Purchase Price and any other consideration then due under the Credit Bid

to the Trustee including the Buyer’s Premium.

        43.     Should the PS Funding (or its successors or assigns) fail to close on the sale, and

without further order from this Court, the Trustee is authorized and empowered to sell the Property

to the Stalking Horse and execute and deliver the agreements contemplated herein and to

implement and consummate all of the transactions and perform all obligations contemplated by

the Stalking Horse’s back-up bid at the Auction and this Order as if the Stalking Horse was

successful bidder. The Stalking Horse shall be entitled to all of the findings and protections of this

Order and will be considered the “Purchaser” as set forth in this Order.

        44.     Should the PS Funding, the Stalking Horse, or their successors or assigns fail to

close on the sale, and without further order from this Court, the Trustee is authorized and

empowered to sell the Property to Roles and execute and deliver the agreements contemplated

herein and to implement and consummate all of the transactions and perform all obligations

contemplated by Role’s back-up bid at the Auction and this Order as if Roles was successful




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bidder. Roles shall be entitled to all of the findings and protections of this Order and will be

considered the “Purchaser” as set forth in this Order.

       45.     Should the PS Funding, the Stalking Horse, Roles, or their successors or assigns

fail to close on the sale, and without further order from this Court, the Trustee is authorized and

empowered to sell the Property to URL and execute and deliver the agreements contemplated

herein and to implement and consummate all of the transactions and perform all obligations

contemplated by URL’s back-up bid at the Auction and this Order as if URL was successful bidder.

URL shall be entitled to all of the findings and protections of this Order and will be considered the

“Purchaser” as set forth in this Order. Further, in the instance where URL becomes the

“Purchaser”, the lease rejection provisions of this Order become effective.

       46.     The PSA, all exhibits and schedules thereto, and all of the terms and conditions

thereof are hereby approved.

       47.     Pursuant to Bankruptcy Code §§ 105, 363 and 365, the Trustee is authorized and

directed to consummate the sale of the Property, pursuant to and in accordance with the terms and

conditions of the PSA, including, without limitation, to convey to Purchaser the Property and

assume and assign the Assumed Contracts and rights thereunder.

       48.     Without need for any additional Court order, the Trustee and his agents are

authorized and directed to execute and deliver, and empowered to perform under, consummate,

and implement the PSA, together with all additional instruments and documents that may be

reasonably necessary or desirable to implement the PSA, and to take all further actions as may be

reasonably requested by Purchaser or otherwise required under the PSA.

       49.     The consideration to be provided by Purchaser for the purchase of the Property

under the PSA constitutes reasonably equivalent value, fair value, and fair consideration thereof



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under the Bankruptcy Code, the Uniform Fraudulent Transfer Act, the Uniform Fraudulent

Conveyance Act, and any other applicable state or federal law.

        50.     Pursuant to Bankruptcy Code §§ 105(a), 363(b) and 363(f), the transfer of the

Property to the Purchaser pursuant to the PSA shall (a) be valid, legal, binding, and effective

transfers, (b) vest Purchaser with all rights, title, and interest of the Debtor’s estate in and to the

Property effective as of the time of the transfers under the PSA, and (c) be free and clear of liens,

claims, encumbrances, and other interests in the Property (except as otherwise provided herein or

in the PSA) including, without limitation, mortgages, restrictions, hypothecations, charges,

indentures, loan agreements, instruments, leases, licenses, options, deeds of trust, security

interests, conditional sale or other title retention agreements, pledges, liens — including, without

limitation, mechanics’, materialmens’ and other consensual and nonconsensual liens and statutory

liens — judgments, demands, encumbrances, rights of first refusal, offsets, contracts, rights of

recovery, claims for reimbursement, contribution, indemnity, exoneration, products liability, alter-

ego, environmental, or tax, decrees of any Court or foreign or domestic governmental entity, or

charges of any kind or nature, if any, including, but not limited to, any restriction on the use, voting,

transfer, receipt of income or other exercise of any attributes of ownership, debts arising in any

way in connection with any agreements, acts, or failures to act, of the Debtor, its estate, or its

predecessors or affiliates, claims (as that term is defined in the Bankruptcy Code), reclamation

claims, obligations, liabilities, demands, guaranties, options, rights, contractual or other

commitments, restrictions, interests and matters of any kind and nature, whether known or

unknown, choate or inchoate, filed or unfiled, scheduled or unscheduled, recorded or unrecorded,

perfected or unperfected, allowed or disallowed, contingent or non-contingent, liquidated or

unliquidated, matured or unmatured, material or non-material, disputed or undisputed, whether



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arising prior to or subsequent to the commencement of these cases, and whether imposed by

agreement, understanding, law, equity or otherwise, including claims otherwise arising under

doctrines of successor liability, whether arising prior to or subsequent to the commencement of

these cases, and whether imposed by agreement, law, equity or otherwise, with all the same

released, terminated and discharged as to the Property.

       51.     All persons and entities are prohibited and enjoined from taking any action to

adversely affect or interfere with the ability of the Trustee to transfer the Property to the Purchaser

in accordance with this Order and the terms of the PSA, or otherwise interfere with Purchaser’s

title to or use and enjoyment of the Property.

       52.     This Order shall be the Court’s determination that, on the closing date of the

respective PSA, all liens, claims, encumbrances, and other interests in and to the Property being

conveyed have been unconditionally released, discharged, and terminated from the Property.

       53.     Purchaser shall have no liability or responsibility for any liability or other

obligation of the Debtor arising under or related to the Property other than as expressly set forth

herein or in the PSA, and in no event shall Purchaser have any liability or responsibility for any

liabilities of the Debtor (including any unrecorded liabilities of the Debtor) other than as expressly

set forth herein or in the PSA. Without limiting the effect or scope of the foregoing, the transfer of

the Property from the Trustee to Purchaser does not and will not subject Purchaser or its affiliates,

successors or assigns or their respective properties (including the Property) to any liability for

claims (as that term is defined in Bankruptcy Code § 101(5)) against the Debtor or the Property

(other than as expressly set forth herein or in the PSA) by reason of such transfer under the laws

of the United States or any state, territory or possession thereof applicable to such transactions.

Except as otherwise provided herein or in the PSA, on and after the closing date of the PSA, all



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persons or entities holding liens, claims, encumbrances, or other interests of any kind and nature

with respect to the Property are hereby forever barred and estopped from asserting such liens,

claims, encumbrances, or other interests of any kind or nature against Purchaser, their successors

or assigns, or the Property.

       54.     On and after the closing date, except as otherwise set forth herein or in the PSA,

the Trustee shall have no liability or responsibility for the Property.

       55.     On the closing date, the Trustee is hereby authorized, but not directed, pursuant to

§§ 363 and 365 of the Bankruptcy Code, to assume and assign to the applicable Purchaser the

Assumed Contracts and rights thereunder.

       56.     Except as it relates to URL as a potential purchaser, on the closing date, the

Debtor’s right, title and interest in, to and under the Assumed Contracts attributable to the Property

shall be assumed by the Debtor’s estate and assigned to Purchaser, and the Assumed Contracts

will remain valid and binding and in full force and effect in accordance with their respective terms

for the benefit of Purchaser, notwithstanding any provision in such contracts or leases (including

those described in Bankruptcy Code §§ 365(b)(2) and (f)(1) and (3)), that prohibits, restricts or

conditions such assignment or transfer.

       57.     The Trustee is further authorized to take any and all actions necessary or

appropriate to consummate the proposed assignment of the Debtor’s right, title and interest in, to

and under the Assumed Contracts to Purchaser, as specified in the PSA. Purchaser shall have no

liability for any defaults under the Assumed Contracts (except as may be explicitly provided in the

PSA) that occurred prior to the assignment of the Debtor’s right, title and interest in, to and under

the Assumed Contracts. Pursuant to Bankruptcy Code § 365(k), the Trustee, Debtor and




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bankruptcy estate are relieved of any liability for any breach of any Assumed Contract that is

assigned to Purchaser occurring after the assignment of such Assumed Contracts to Purchaser.

       58.     The Trustee and/or any property management company are authorized to transfer

any deposits related to the leases related to the Property and execute such other necessary

documents and take other necessary actions in connection therewith.

       59.     The failure of the Trustee or Purchaser to enforce at any time one or more terms or

conditions of any Assumed Contracts shall not be a waiver of such terms or conditions, or of

Purchaser’ rights to enforce every term and condition of the Assumed Contracts.

       60.     There shall be no rent accelerations, assignment fees, increases, or any other fees

charged to Purchaser as a result of the assumption, assignment, and sale of the Assumed Contracts.

       61.     The Trustee is authorized to execute such other necessary documents and take other

necessary actions in connection the closing of the sale of Property and assignment of Assumed

Contracts.

       62.     No bulk sales law, or similar law of any state or other jurisdiction, shall apply in

any way to the transaction contemplated by the PSA and this Order.

       63.     The failure specifically to include any particular provision of the PSA in this Order

shall not diminish or impair the effectiveness of such provision, it being the intent of the Court that

the PSA be authorized and approved in its entirety.

       64.     This Order (a) shall be effective as a determination that, on the closing date, all

liens, claims, encumbrances, other interests, and rights of any kind or nature whatsoever existing

with respect to the Property have been unconditionally released, discharged and terminated (except

as otherwise provided herein or in the PSA), and that the conveyances described herein have been

effected and (b) shall be binding upon and shall govern the acts of all entities, including without



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limitation all filing agents, filing officers, title agents, title companies, recorders of mortgages,

recorders of deeds, registrars of deeds, administrative agencies, governmental departments,

secretaries of state, federal, state, and local officials, and all other persons and entities who may

be required by operation of law, the duties of their office, or contract, to accept, file, register or

otherwise record or release any documents or instruments, or who may be required to report or

insure any title or state of title in or to the Property.

        65.      Each and every federal, state, and local governmental agency or department is

hereby directed to accept for filing and/or recording, and approve as necessary, any and all

documents and instruments necessary and appropriate to consummate the transactions

contemplated by the PSA.

        66.      To the extent permitted by Bankruptcy Code § 525, no governmental unit may

revoke or suspend any permit or license relating to the operation of the Property sold, transferred,

or conveyed to Purchaser on account of the filing or pendency of these cases or the consummation

of the sale.

        67.      If any person or entity that has filed financing statements, mortgages, mechanic’s

liens, lis pendens, or other documents or agreements evidencing claims or interests with respect to

the Property shall not have delivered to the Trustee prior to the closing date, in proper form for

filing and executed by the appropriate parties, releases of liens or interests which the person or

entity has with respect to the Property, then Purchaser, at its own expense, is hereby authorized to

file, register, or otherwise record a certified copy of this Order, which, once filed, registered, or

otherwise recorded, shall constitute conclusive evidence of the release of all liens, claims,

encumbrances, and other interests in the Property of any kind or nature whatsoever to the extent

provided herein.



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       68.     All entities that presently are in possession of some or all the Property hereby are

directed to surrender possession of the Property to Purchaser at the closing date.

       69.     This Court retains exclusive jurisdiction so long as the Debtor’s case is pending to

determine as a core proceeding (by motion and without necessity for an adversary proceeding) any

proceeding, dispute, or controversy (i) to enforce and implement the terms and provisions of the

PSA (including any breach of the PSA), all amendments thereto, any waivers and consents

thereunder, and of each of the agreements executed in connection therewith in all respects and (ii)

arising out of or related to this Order and the PSA.

       70.      The transactions contemplated by the PSA are undertaken by Purchaser in good

faith, as that term is used in Bankruptcy Code § 363(m). Accordingly, the reversal or modification

of the authorization provided herein to consummate the transactions contemplated herein shall not

affect the validity of the sale of the Property to Purchaser, unless such authorization is duly stayed.

Purchaser is entitled to all of the protections afforded by Bankruptcy Code § 363(m).

       71.     The consideration to be provided by Purchaser for the Property under the PSA is

fair and reasonable, and the sale of the Property and the related transactions may not be avoided

under Bankruptcy Code § 363(n).

       72.     The terms and conditions of the PSA and this Order shall be binding in all respects

and shall inure to the benefit of the Trustee, Debtor and its creditors and interest holders,

successors, and assigns and Purchaser, and its respective affiliates, successors and assigns.

       73.     The PSA and any related agreements, documents or other instruments may be

modified, amended, supplemented, or waived by the parties thereto, in a writing signed by both

parties, and in accordance with the terms thereof, without further order of the Court, provided that




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such modification, amendment, supplement, or waiver shall not have a material adverse effect on

the Debtor’s estate.

        74.     At the time of closing and if it is the “Purchaser”, PS Funding (or its assigns) shall

pay to the Title Company an amount to cover the Carveout and an amount sufficient to pay the

estate’s share of the closing costs, including outstanding real property taxes and tax liens, and

sufficient to pay the Buyer’s Premium. The Trustee is further authorized and directed to transfer

the Carveout to his operating account for the benefit of administrative expenses and unsecured

creditors, free and clear of liens.

        75.     If PS Funding (or its assigns) does not close and the bankruptcy estate closes with

either the Stalking Horse, Roles or URL, then the following shall apply:

                a.      At the time of closing, and from the proceeds of the sale, the Trustee is
                        authorized and directed to pay the estate’s share of the closing costs,
                        including outstanding real property taxes and tax liens. The Trustee is
                        further authorized and directed to transfer the Carveout to his operating
                        account for the benefit of administrative expenses and unsecured creditors,
                        free and clear of liens.

                b.      Any Liens shall attach to the sale proceeds with the same extent, priority,
                        and validity as the liens in the Property except for the Carveout which shall
                        be free and clear of liens. The Trustee shall distribute the net proceeds and
                        Buyer’s Premium pursuant to subsequent Court Order(s).

        76.     The provisions of this Order are non-severable and mutually dependent.

        77.     In the event of any inconsistency between the terms and provisions of this Order

and the PSA, the terms and provisions of this Order shall control unless explicitly provided

otherwise herein.

        78.     Nothing in this Order, except for the amount credited to the debt owed to PS

Funding, shall have any impact or other preclusive effect in other court proceedings.

        79.     This Court may supplement this Order with one or more additional orders within

the scope of this Order, with or without additional notice or opportunity for a hearing to other

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parties depending upon the facts and circumstances as determined by the Court at the time the

Court is requested to enter such separate order(s).

       80.     Notwithstanding the provisions of Bankruptcy Rules 6004(h) and 6006(d), there is

no stay pursuant to Bankruptcy Rule 6004(h) or 6006(d) and this Order shall be effective and

enforceable immediately upon entry.

       81.     Counsel for Trustee shall serve a copy of this Order by mail to all interested parties

who were not served electronically.

                                                ###


Respectfully submitted,

SPENCER FANE LLP

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        achase@spencerfane.com

COUNSEL FOR CHAPTER 11 TRUSTEE




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            PURCHASE AND SALE AGREEMENT

                            between

                       PS FUNDING, INC.
                         (as purchaser)

                                and

ERIC L. JOHNSON, IN HIS CAPACITY AS CHAPTER 11 TRUSTEE
         OF US REAL ESTATE EQUITY BUILDER LLC
                         (as seller)




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                            PURCHASE AND SALE AGREEMENT

       THIS PURCHASE AND SALE AGREEMENT (this “Agreement”), is made and
entered into as of July 18, 2022 (“Effective Date”), by and between PS Funding Inc., a Delaware
corporation, (the “Purchaser”), and Eric L. Johnson, in his capacity as Chapter 11 Trustee of US
Real Estate Equity Builder LLC, a Missouri limited liability company (the “Seller”).

       WHEREAS, US Real Estate Equity Builder LLC, a Missouri limited liability company
(“USREEB”) filed a voluntary petition for relief under Chapter 11 of the Bankruptcy Code (as
defined below) on October 2, 2020. On December 10, 2020, Seller was appointed as the Chapter
11 Trustee of USREEB’s estate. The USREEB case is pending before the United States
Bankruptcy Court for the District of Kansas (the “Bankruptcy Court”) styled In re US Real Estate
Equity Builder LLC, Case No. 20-21358 (the “Bankruptcy Case”); and

         WHEREAS, the Purchaser desires to purchase from the Seller, and the Seller desires to
sell to the Purchaser, the Property (this and other capitalized terms used and not otherwise defined
herein have the meanings given them terms in Section 1 below), subject to and upon the terms and
conditions hereinafter set forth.

       NOW, THEREFORE, in consideration of the mutual covenants herein contained and
other good and valuable consideration, the mutual receipt and legal sufficiency of which are hereby
acknowledged, the Seller and the Purchaser intending to be legally bound agree as follows:

                                  SECTION I. DEFINITIONS

        Capitalized terms used in this Agreement have the meanings set forth below or in the
section of this Agreement referred to below:

       1.1.     “Agreement” has the meaning given such term in the Preamble to this Agreement.

        1.2.   “Alternative Transaction” shall mean a transaction or series of transactions
pursuant to which Seller sells, transfers, leases, or otherwise disposes of all or any material portion
of the Property to a person other than Purchaser.

       1.3.     “Apportioned Items” has the meaning given such term in Section 9.1(a).

       1.4.    “Assumed Contracts” means any contracts, leases, licenses, or other agreements
with respect to the operation or occupancy of Property, or any portion thereof, and identified on
Exhibit A.

      1.5.   “Auction” shall mean the auction conducted by Seller pursuant to the Bidding
Procedures Order for the Property entered in the Bankruptcy Case at Docket No. 640.

       1.6.     “Back-up Bidder” has the meaning given such term in Section 12.5.

      1.7.      “Bankruptcy Case” has the meaning given such term in the Recitals of this
Agreement.


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       1.8.    “Bankruptcy Code” means Title 11 and applicable portions of Titles 18 and 28 of
the United States Code.

      1.9.     “Bankruptcy Court” has the meaning given such term in the Recitals of this
Agreement.

       1.10.   “Business Day” means any day other than a Saturday, Sunday or any day that is
a “Legal Holiday” as defined in Bankruptcy Rule 9006(a)(6).

       1.11.   “Closing” has the meaning given such term in Section 2.2.

       1.12.   “Closing Date” has the meaning given such term in Section 2.2.

       1.13.   “Closing Documents” has the meaning given such term in Section 4.1.

       1.14.   “Competing Offer” has the meaning given such term in Section 12.3.

       1.15.    “Deposit” has the meaning given such term in Section 2.4.

       1.16.   “Due Diligence Period” has the meaning given such term in Section 3.1(a).

      1.17.    “Effective Date” has the meaning given such term in the Preamble to this
Agreement.

        1.18. “Environmental Law” means any and all federal, state and municipal statutes,
laws, regulations, ordinances, rules, judgments, orders, decrees, codes, plans, injunctions, permits,
concessions, grants, franchises, licenses, agreements or other governmental restrictions relating to
the environment or to emissions, discharges or releases of Hazardous Substances into the
environment including ambient air, surface water, ground water or land, or otherwise relating to
the manufacture, processing, distribution, use, treatment, storage, disposal, transport or handling
of Hazardous Substances or the cleanup or other remediation thereof.

       1.19.   “Excluded Property” means the property specifically listed on Schedule 1.19.

       1.20. “Fixtures” means all fixtures, furniture, equipment, machinery, systems and other
items of personal property owned by the Seller and attached or appurtenant to, located on, and
used in connection with the ownership, use, operation or maintenance of the Land and
Improvements (including but not limited to all alarm systems, and all plumbing, heating, air
conditioning and lighting fixtures and equipment, cabinets and awnings), other than the Excluded
Property.

       1.21. “Hazardous Substances” means and include any oils, petroleum products,
asbestos, radioactive, biological, medical or infectious wastes or materials, and any other toxic or
hazardous wastes, materials and substances that are defined, determined or identified as such in
any Environmental Laws, or in any judicial or administrative interpretation of Environmental
Laws.



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        1.22. “Improvements” means the buildings and other improvements located on the
Land.

        1.23. “Land” means that certain parcel of land commonly known and numbered as 440
E. 63rd St., Kansas City, Missouri 64110, which land is more particularly described on Exhibit B,
together with all rights and appurtenances thereto, including all right, title and interest of Seller in
and to any water and mineral rights and adjacent streets, alleys or rights of way.

        1.24. “Licenses and Permits” means any certificates of occupancy and other licenses,
permits, registrations, authorizations, use agreements, orders, or approvals of governmental or
quasi-governmental agencies and authorities (whether federal, state, local, municipal, or foreign)
or private parties relating to the construction, use, operation, or enjoyment of the Property, in each
case to the extent transferable.

      1.25. “Lien” means any lien, mortgage, pledge, claim, charge, security interest,
hypothecation or encumbrance of any nature whatsoever.

       1.26. “Property” means, collectively, the Land, the Improvements, the Fixtures, the
Licenses and Permits, and any Assumed Contracts, but does not include the Excluded Property.

        1.27. “Purchase Price” has the meaning given such term in Section 2.3.

        1.28. “Purchaser” has the meaning given such term in the Preamble to this Agreement.

        1.29.

        1.30. “Sale Order” means the order to be entered by the Bankruptcy Court in form and
substance reasonably acceptable to Seller and Purchaser pursuant to Sections 105, 363 or 365, as
applicable, of the Bankruptcy Code (i) authorizing the sale of the Property to the Purchaser or
Successful Bidder (as defined in the Bidding Procedures) at any Auction; (ii) approving this
Agreement or, if there is an Auction, the successful contract, and the transactions contemplated
therein; (iii) approving, with specific findings of fact in support thereof, the sale of the Property to
Purchaser or Successful Bidder free and clear of all Liens pursuant to Section 363(f) of the
Bankruptcy Code; (iv) finding, with specific findings of fact in support thereof, that Purchaser or
Successful Bidder is a good-faith purchaser entitled to the protections of Section 363(m) of the
Bankruptcy Code; (v) authorizing and approving the results of any Auction; and (vi) finding that
the order is final upon entry by the Bankruptcy Court.

        1.31. “Seller” has the meaning given such term in the Preamble to this Agreement.

        1.32. “Survey” has the meaning given such term in Section 3.2.

        1.33. “Tenant” means each tenant under any Assumed Contract, which includes any
leases as further set forth in Exhibit A.

        1.34. “Title Commitment” has the meaning given such term in Section 3.3.



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       1.35. “Title Company” means National Secured Title or such other title company as
mutually agreed to in writing by the Seller and Purchaser.

       1.36. “Title Objection Notice” has the meaning given such term in Section 3.4(a).

       1.37. “Title Policy” has the meaning given such term in Section 3.3.

       1.38. “USREEB” has the meaning given such term in the Recitals of this Agreement.

                      SECTION II. PURCHASE AND SALE; CLOSING

           2.1.    Purchase and Sale. On the terms and subject to the conditions contained in
   this Agreement and the Sale Order, the Seller agrees to sell to the Purchaser, and the Purchaser
   agrees to purchase from the Seller, the Property for the Purchase Price, subject to and in
   accordance with the terms and conditions of this Agreement and the Sale Order.
   Notwithstanding anything to the contrary contained in this Agreement, at Closing, Seller shall
   not transfer, convey, sell or assign to Purchaser any Excluded Property.

           2.2.    Closing. The purchase and sale of the Property will be consummated at a
   closing (the “Closing”) through an escrow with the Title Company, or at such other location
   as the Seller and the Purchaser may agree, on or before the later of (a) 14 days after entry of
   the Sale Order, or (b) such date mutually agreed to by the Parties (the “Closing Date”). The
   Closing will be deemed to have occurred at 12:01 a.m. local time for the Property on the
   Closing Date.

           2.3.     Purchase Price.

               (a)     The aggregate purchase price for the Property shall be Eight Hundred
Eighty Thousand and 00/100 Dollars ($880,000.00), plus Fifty Two Thousand and Eight Hundred
and 00/100 Dollars ($52,800.00) for the six percent (6.00%) buyer’s premium, for a total purchase
price of $932,800.00 (the “Purchase Price”). The Purchase Price will be paid at Closing as
follows: (a) Purchaser will pay to Seller in U.S. Dollars in good funds an amount equal to (i) the
sum of any liens on the Property that are senior to the secured debt owed by Seller to Purchaser
(the “Purchaser Secured Debt”), (ii) real estate, transfer, or ad valorem taxes, (iii) the 14% estate
carve out ($123,200), and (iv) closing costs (collectively, the “Cash Portion”); and (b) Purchaser
will pay the balance of the Purchase Price via credit bid pursuant to Section 363(k) of the
Bankruptcy Code of a portion of the Purchaser Secured Debt (the “Credit Bid Amount”), with
the balance of the Purchaser Secured Debt continuing to be due and owing to Purchaser.

                 (b)   On the earlier of (i) the Closing Date, or (ii) 14 days of entry of the Sale
Order, the Purchaser will deposit the Cash Portion of the Purchase Price owed to the Title
Company. At Closing, the Title Company will deliver the Cash Portion of the Purchase Price to
the Seller, less amounts to be paid to the Title Company, and taxing authorities, which shall be paid
directly to such parties at closing. Any commissions shall either be paid directly by the Title
Company to sale agents, or, if no Order has been entered approving such compensation, by the
Trustee upon Court approval of such commissions.



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                                  SECTION III. DILIGENCE

           3.1.     Due Diligence Period.

           3.2.    Title Insurance. Seller shall, within fourteen (14) Business Days after the
   entry of the Sale Order, request the Title Company to furnish to Purchaser and Seller a
   preliminary title insurance commitment (the “Title Commitment”) issued by the Title
   Company pursuant to which the Title Company agrees to issue to Purchaser an ALTA owner's
   policy of standard title insurance (collectively, the “Title Policy”), in the amount of the
   Purchase Price, insuring fee simple title to the Land and Improvements in Purchaser, subject
   only to real estate taxes and assessments for the current year and subsequent years, not yet due
   and payable, and any encumbrances of record or other exceptions on the Title Commitment
   which are expressly approved in writing by Purchaser or which are deemed approved by
   Purchaser as provided in this Agreement (“Permitted Encumbrances”). The premium for the
   Title Policy shall be at the sole cost of Seller; provided, however, that any endorsements to the
   Title Policy requested by Purchaser, as well as any lender’s policy of title insurance, shall be
   at the sole cost of Purchaser.

           3.3.   Seller’s Title Documents. Seller agrees to execute, acknowledge and deliver
   to the Title Company, on or before the Closing Date, such documents, instruments and other
   information as the Title Company shall reasonably require as a condition to issuance of the
   Title Policy to the extent it is in the Seller’s power to deliver such documents. Seller shall
   make reasonable efforts to attempt to compel USREEB to execute any documents.

   SECTION IV. CONDITIONS TO THE PURCHASER'S OBLIGATION TO CLOSE

        The obligation of the Purchaser to acquire the Property is subject to the satisfaction of the
following conditions precedent on and as of the Closing Date such that if any condition fails, and
is not waived in writing by the Purchaser, the Purchaser may terminate this Agreement and receive
a prompt return of the Deposit:

          4.1.    Closing Documents. The Seller shall have delivered to the Title Company or
   Purchaser the following (collectively, the “Closing Documents”), duly executed by Seller and,
   where applicable, acknowledged by notary:

              (a)     A trustee’s deed for transfer of the Land and Improvements, in substantially
the form of Exhibit C (the “Deed”);

             (b)   If applicable, an Assignment and Assumption Agreement for assignment
and assumption of any Assumed Contracts, in substantially the form of Exhibit D (the
“Assignment and Assumption Agreement”);

               (c)    A Quit Claim Bill of Sale and General Assignment for transfer of the
Fixtures and Licenses and Permits, in substantially the form of Exhibit E;

                (d)    A settlement statement prepared by the Title Company, together with any
other affidavits and agreements reasonably required by the Title Company in order to issue the
Title Policy, and

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              (e)     Such other documents, instruments, certificates and assurances as are
reasonably required to consummate the transactions contemplated by this Agreement.

          4.2.     Condition of Property. The Property, including all improvements located
   thereon, is in substantially the same physical condition on the Closing Date as on the Effective
   Date, ordinary wear and tear and damage by casualty or condemnation excepted (subject to the
   terms of, and except as otherwise provided pursuant to, this Agreement).

           4.3.    Seller's Representations and Warranties. All representations and warranties
   of the Seller herein shall remain true, correct and complete in all material respects on and as of
   the Closing Date and the Seller shall have performed all covenants and obligations required to
   be performed by the Seller on or before the Closing Date.

          4.4.     Bankruptcy Court Approval. The Bankruptcy Court shall have entered the
   Sale Order.

           4.5.    Title Policy. The Title Company shall have committed to the issuance of the
   Title Policy, subject only to the Permitted Encumbrances.

      SECTION V. CONDITIONS TO THE SELLER'S OBLIGATION TO CLOSE

        The obligation of the Seller to convey the Property to the Purchaser is subject to the
satisfaction of the following conditions precedent on and as of the Closing Date such that if any
condition fails, and is not waived in writing by the Seller, the Seller may terminate this Agreement:

           5.1.   Purchase Price. The Purchaser shall have delivered to the Title Company or
   Seller the Purchase Price payable hereunder.

           5.2.    Closing Documents. The Purchaser shall have delivered to the Title Company
   or the Seller a duly executed counterpart of the Assignment and Assumption Agreement, the
   settlement statement prepared by the Title Company, and such other documents, instruments,
   certificates and assurances as are reasonably required to consummate the transactions
   contemplated by this Agreement.

           5.3.   Representations. All representations and warranties of the Purchaser herein
   shall remain true, correct and complete in all material respects on and as of the Closing Date
   and the Purchaser shall have performed all covenants and obligations required to be performed
   by the Purchaser on or before the Closing Date.

          5.4.     Bankruptcy Court Approval. The Bankruptcy Court shall have entered the
   Sale Order.

      SECTION VI. REPRESENTATIONS AND WARRANTIES OF THE SELLER

         6.1.    Representations of the Seller. To induce the Purchaser to enter into this
   Agreement, the Seller represents and warrants to the Purchaser as follows:



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               (a)    Status and Authority of Seller. Subject to approval by the Bankruptcy
Court, the Seller has all requisite power and authority to enter into and perform its obligations
under this Agreement and to consummate the transactions contemplated hereby.

                (b)    Use and Operation. To the best of Seller’s knowledge, there are no
governmental actions pending against the Property and there is no existing eminent domain or
similar proceeding which would materially affect the Property, and neither Seller nor any of its
agents, representatives or employees has received a written notice from any governmental agency
or office or from any other third party alleging the Property's violation or alleged violation of
applicable law.

              (c)     Foreign Person. Seller is not a “Foreign Person” within the meaning of
Section 1445 of the Internal Revenue Code, as amended.

              (d)    Knowledge Definition. The phrase “to the best of Seller’s knowledge”
means the actual knowledge, without investigation, of the Seller.

           6.2.    Non-Survival of Representations and Warranties. The representations and
   warranties made by the Seller herein or pursuant hereto will expire with, and be terminated
   and extinguished by, the Closing, and thereafter neither the Seller nor any agent, contractor,
   director, officer, creditor or shareholder of the Seller will have any liability whatsoever with
   respect to any such representations or warranties.

           6.3.     DISCLAIMER OF SELLER’S WARRANTIES.

            (a)  GENERAL. PURCHASER HEREBY EXPRESSLY ACKNOWLEDGES
THAT, PRIOR TO THE END OF THE DUE DILIGENCE PERIOD, PURCHASER WILL HAVE
THOROUGHLY INSPECTED AND EXAMINED THE PROPERTY TO THE EXTENT
DEEMED NECESSARY BY PURCHASER IN ORDER TO ENABLE PURCHASER TO
EVALUATE THE PURCHASE OF THE PROPERTY. PURCHASER IS RELYING SOLELY ON
ITS OWN EXPERTISE AND THAT OF PURCHASER’S CONSULTANTS AND PURCHASER
WILL CONDUCT SUCH INSPECTIONS AND INVESTIGATIONS OF THE PROPERTY,
INCLUDING, BUT NOT LIMITED TO, THE PHYSICAL AND ENVIRONMENTAL
CONDITIONS THEREOF AS PURCHASER DEEMS APPROPRIATE AND NECESSARY.
UPON CLOSING, PURCHASER WILL ASSUME THE RISK OF ANY ADVERSE MATTERS,
INCLUDING, BUT NOT LIMITED TO, ADVERSE PHYSICAL AND ENVIRONMENTAL
CONDITIONS THAT MAY NOT HAVE BEEN REVEALED BY PURCHASER’S
INSPECTIONS AND INVESTIGATIONS. PURCHASER FURTHER ACKNOWLEDGES
AND AGREES THAT PURCHASER IS ACQUIRING THE PROPERTY ON AN “AS IS,
WHERE IS” AND “WITH ALL FAULTS” BASIS, WITHOUT REPRESENTATIONS,
WARRANTIES OR COVENANTS, EXPRESS OR IMPLIED, OF ANY KIND OR NATURE,
EXCEPT AS EXPRESSLY SET FORTH IN THIS AGREEMENT. PURCHASER HEREBY
WAIVES AND RELINQUISHES ALL RIGHTS AND PRIVILEGES ARISING OUT OF, OR
WITH RESPECT OR IN RELATION TO, ANY REPRESENTATIONS, WARRANTIES OR
COVENANTS, WHETHER EXPRESS OR IMPLIED, WHICH MAY HAVE BEEN MADE OR
GIVEN, OR WHICH MAY HAVE BEEN DEEMED TO HAVE BEEN MADE OR GIVEN, BY
SELLER OR ITS AGENTS OR REPRESENTATIVES, EXCEPT FOR THOSE EXPRESSLY

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SET FORTH IN THIS AGREEMENT AND THE DEED. UPON THE CLOSING, PURCHASER
AGREES TO ASSUME ALL FUTURE RISK AND LIABILITY (AND AGREES THAT SELLER
WILL NOT BE LIABLE FOR ANY FUTURE SPECIAL, DIRECT, INDIRECT,
CONSEQUENTIAL OR OTHER DAMAGES) RESULTING OR ARISING FROM OR
RELATING TO PURCHASER’S OWNERSHIP, USE, CONDITION, LOCATION,
MAINTENANCE, REPAIR OR OPERATION OF THE PROPERTY.

            (b)   SPECIFIC. WITHOUT LIMITING THE GENERAL PROVISIONS OF
SECTION 6.3(a), BUT SUBJECT TO THE PROVISIONS OF SECTION 6.3(c), EXCEPT AS
EXPRESSLY SET FORTH IN THIS AGREEMENT, SELLER IS NOT MAKING AND
SPECIFICALLY DISCLAIMS ANY WARRANTIES OR REPRESENTATIONS OF ANY KIND
OR CHARACTER, EXPRESS OR IMPLIED, AS TO MATTERS OF ZONING, COMPLIANCE
WITH STATUTES, LAWS, REGULATIONS, ORDINANCES, TAX CONSEQUENCES,
PHYSICAL OR ENVIRONMENTAL CONDITIONS, AVAILABILITY OF ACCESS, INGRESS
OR EGRESS, OPERATING HISTORY OR PROJECTIONS, VALUATION, GOVERNMENTAL
APPROVALS, GOVERNMENTAL REGULATIONS OR ANY OTHER MATTER OR THING
RELATING TO OR AFFECTING THE PROPERTY, INCLUDING, WITHOUT LIMITATION:
(I) THE VALUE, CONDITION, MERCHANTABILITY, MARKETABILITY, PROFITABILITY,
SUITABILITY OR FITNESS FOR A PARTICULAR USE OR PURPOSE OF THE PROPERTY
AND (II) THE MANNER, QUALITY, STATE OF REPAIR OR LACK OF REPAIR OF THE
PROPERTY. PURCHASER FURTHER ACKNOWLEDGES THAT SELLER HAS NOT
WARRANTED, AND DOES NOT HEREBY WARRANT, THE PROPERTY NOW OR IN THE
FUTURE WILL MEET OR COMPLY WITH THE REQUIREMENTS OF ANY SAFETY,
BUILDING, ZONING OR PLATTING CODES, ENVIRONMENTAL LAW OR LAWS OF THE
COUNTRY, STATE, COUNTY OR CITY IN WHICH THE PROPERTY IS LOCATED OR ANY
OTHER AUTHORITY OR JURISDICTION.

   SECTION VII. REPRESENTATIONS AND WARRANTIES OF THE PURCHASER

         7.1.    Representations of the Purchaser. To induce the Seller to enter in this
   Agreement, the Purchaser represents and warrants to the Seller as follows:

                 (a)   Status and Authority of the Purchaser. The Purchaser is a corporation
duly organized, validly existing and in good standing under the laws of the State of Delaware, and
has all requisite power and authority to enter into and perform its obligations under this Agreement
and to consummate the transactions contemplated hereby.

               (b)    Action of the Purchaser. The Purchaser has taken all necessary action to
authorize the execution, delivery and performance of this Agreement, and upon the execution and
delivery of any document to be delivered by the Purchaser on or prior to the Closing Date, this
Agreement and such documents will constitute the valid and binding obligation and agreement of
the Purchaser, enforceable against the Purchaser in accordance with its terms, except as such
enforceability may be limited by bankruptcy, insolvency, reorganization, moratorium or similar
laws of general application affecting the rights and remedies of creditors.

             (c)     No Violations of Agreements. Neither the execution, delivery or
performance of this Agreement by the Purchaser, nor compliance with the terms and provisions

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hereof, will result in any breach of the terms, conditions or provisions of, or conflict with or
constitute a default under, or result in the creation of any Lien upon any property or assets of the
Purchaser pursuant to the terms of any indenture, mortgage, deed of trust, note, evidence of
indebtedness or any other agreement or instrument by which the Purchaser is bound.

                (d)    Litigation. No investigation, action or proceeding is pending and, to the
Purchaser's knowledge, no action or proceeding is threatened and no investigation looking toward
such an action or proceeding has begun, that questions the validity of this Agreement or any action
taken or to be taken pursuant hereto.

              (e)      Financing.    The Purchaser has sufficient available funds to pay the
Purchase Price at the Closing.

               (f)    Bid Required Representations. Purchaser (i) has relied solely upon its
own independent review, investigation and/or inspection of the Property in submitting this
Agreement, (ii) did not rely upon any written or oral statements, representations, promises,
warranties or guaranties whatsoever, whether express, implied, by operation of law or otherwise,
regarding the Property or the transaction contemplated herein, or the completeness of any
information provided in connection therewith, except as expressly stated herein, and (iii) has
authority to enter into this Agreement, execute any necessary documents to close on the
transactions contemplated herein, and proceed to Closing.

              (g)     Adequate Assurance of Future Performance. Purchaser is and will be
capable of providing to counterparties to any Assumed Contracts adequate assurances of future
performance within the meaning of Section 365(f)(2)(B) of the Bankruptcy Code.

                      SECTION VIII. COVENANTS OF THE SELLER

       The Seller hereby covenants with the Purchaser between the date of this Agreement and
the Closing Date as follows:

           8.1.    Actions Without Purchaser’s Consent. Subject to the terms and provisions
   of this Agreement, Seller shall not, without the prior consent of Purchaser, which consent shall
   not be unreasonably withheld, conditioned, or delayed, (a) enter into any lease, concession
   agreement, license agreement, easement agreement or other agreement relating to the Property
   or any part thereof that will continue past Closing; (b) amend, modify, terminate, or renew any
   Assumed Contract; or (c) sell, transfer, assign, or otherwise convey any of the Property to
   anyone other than Purchaser.

           8.2.   Notice of Material Changes or Untrue Representations. Upon learning of
   any material change in any condition with respect to the Property or of any event or
   circumstance that makes any representation or warranty of the Seller under this Agreement
   untrue in any material respect, promptly to notify the Purchaser thereof.

          8.3.    Operation of Property. To continue to operate the Property in a fashion
   consistent with past practices; provided, however, that Seller will terminate, effective as of the
   Closing Date, all employment contracts with employees at the Property.


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                              SECTION IX. APPORTIONMENTS

           9.1.     Real Property Apportionments.

                (a)    The following items will be apportioned at the Closing as of 12:01 a.m.
local time for the Property on the Closing Date (the “Apportioned Items”):

                       (i)     amounts owed or owing under any Assumed Contract;

                      (ii)     all other items of income and expense normally apportioned in sales
               of property in similar situations;

                      (iii) if applicable, monthly rents and other fixed charges payable under
               any Assumed Contract;

                      (iv)   if applicable, percentage rents and other unfixed charges payable
               under any Assumed Contract;

                       (v)     gas, electric, water and other utility costs;

                       (vi)    municipal assessments and governmental license and permit fees;

                       (vii) real estate taxes and assessments, based on the rates and assessed
               valuation applicable in the fiscal year for which assessed; and

                      (viii) personal property taxes and assessments, if any, based on the rates
               and assessed valuation applicable in the fiscal year for which assessed.

                (b)    For the avoidance of doubt, the Apportioned Items shall be apportioned to
Seller prior to the Closing Date, and Apportioned Items shall be apportioned to Purchaser on and
after the Closing Date. If any of the foregoing cannot be apportioned at the Closing because of the
unavailability of the amounts that are to be apportioned, such items will be apportioned on the
basis of a good faith written estimate by the parties and reconciled as soon as practicable after the
Closing Date. To the extent granted in the Sale Order, the sale, transfer, assignment and
conveyance of the Property to the Purchaser will be entitled to the protections afforded under
Section 1146(c) of the Bankruptcy Code.

                (c)    If there are water, gas or electric meters located at the Property, the Seller
will obtain readings thereof to a date not more than thirty (30) days prior to the Closing Date and
the unfixed water rates and charges, sewer taxes and rents and gas and electricity charges, if any,
based thereon for the intervening time will be apportioned on the basis of the last readings. If
readings are not obtainable by the Closing Date, then, at the Closing, any water rates and charges,
sewer taxes and rents and gas and electricity charges that are based on the readings will be prorated
based upon the per diem charges obtained by using the most recent period for which readings are
then available.

               (d)    If any refunds of real property taxes or assessments, water rates and charges
or sewer taxes and rents will be made after the Closing, the same will be held in trust by the Seller

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or the Purchaser, as the case may be, and will first be applied to the unreimbursed costs incurred
in obtaining the same, then to any required refunds to Tenants, and the balance, if any, will be paid
to the Seller (for the period prior to the Closing Date) and to the Purchaser (for the period
commencing with the Closing Date).

              (e)    No insurance policies of the Seller are to be transferred to the Purchaser,
and no apportionment of the premiums therefor will be made.

               (f)   Tenant security deposits, if any, will be transferred to the Purchaser, and
Purchaser shall become responsible for all claims related to the refund of Tenant security deposits.

                (g)    If a net amount is owed by the Seller to the Purchaser pursuant to this
Section 9.1, then such amount will be credited against the Purchase Price. If a net amount is owed
by the Purchaser to the Seller pursuant to this Section 9.1, then such amount will be paid together
with the Purchase Price.

               (h)    If there is a dispute between the parties with respect to amounts under this
Section 9.1, undisputed amounts will be paid at Closing. With respect to disputed amounts, a
proper adjustment will be determined after the Closing Date by the Bankruptcy Court.

       The provisions of this Section 9.1 will survive the Closing.

           9.2.     Closing Costs.

               (a)     The Purchaser will pay (i) all charges related to any endorsements to the
Title Policy requested by Purchaser, and any lender’s policy of title insurance, (ii) all applicable
excise, sales, use, value added, registration, stamp, recording, documentary, conveyance,
franchise, transfer, gains and similar taxes and impositions incurred in connection with the
transactions contemplated by this Agreement, (iii) all charges for any Survey and (iv) all recording
charges for the Deed.

              (b)     The Seller will pay all charges for the Title Commitment (including search
and exam fees) and Title Policy other than those costs identified in Section 9.2(a).

               (c)     Each party will pay the fees and expenses of its attorneys and other
consultants. Any charges and expenses incurred by Title Company in effecting Closing will be
shared equally by the parties.

               (d)    Purchaser shall be solely responsible to provide to counterparties to any
Assumed Contracts adequate assurances of future performance within the meaning of Section
365(f)(2)(B) of the Bankruptcy Code.

           SECTION X. DAMAGE TO OR CONDEMNATION OF PROPERTY

          10.1. Casualty. If, prior to the Closing, all or any part of the Property is destroyed
   or damaged by fire or other casualty, then the Seller will promptly notify the Purchaser of this
   fact. If any such casualty damages all or any material portion of the Property, then the
   Purchaser may terminate this Agreement by giving notice thereof to the Seller not later than

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ten (10) Business Days after the date on which the Purchaser receives the Seller's notice as
aforesaid. If the Purchaser elects to terminate this Agreement as aforesaid, then the Title
Company will return the Deposit to the Purchaser, and, upon the Purchaser's receipt of the
Deposit, this Agreement will terminate and be of no further force and effect and neither party
will have any liability to the other hereunder (except for Purchaser’s obligations under Section
3.1(c), which shall survive such termination). If any such casualty damages less than a material
portion of the Land or Improvements or if the Purchaser elects not to terminate this Agreement
as aforesaid, then there will be no abatement of the Purchase Price and the Seller will assign
to the Purchaser at the Closing all of the Seller's rights to the insurance proceeds, if any, under
the Seller's insurance policies covering the Land and Improvements with respect to such
damage or destruction and there will be credited against the Purchase Price the following: (a)
the amounts of any applicable insurance deductibles; and (b) the amounts of any proceeds
previously received by Seller for the damage or destruction to the Land or Improvements.

        10.2. Condemnation. If, prior to the Closing, all or any part of the Land or
Improvements is taken by eminent domain (or is the subject of a pending taking that has not
yet been consummated), then the Seller will promptly notify the Purchaser of this fact. If such
taking affects all or any material portion of the Land or Improvements, then the Purchaser may
terminate this Agreement by giving notice to the Seller not later than ten (10) Business Days
after receipt of the Seller's notice. If the Purchaser elects to terminate this Agreement as
aforesaid, then the Deposit will be returned to the Purchaser, and, upon the Purchaser's receipt
of the Deposit, this Agreement will terminate and be of no further force and effect and neither
party will have any liability to the other hereunder (except for Purchaser’s obligations under
Section 3.1(c), which shall survive such termination). If less than a material portion of the
Land or Improvements is affected by a taking or if the Purchaser elects not to terminate this
Agreement as aforesaid, then the sale of the Property will be consummated as herein provided
without any adjustment to the Purchase Price (except to the extent of any condemnation award
received by the Seller prior to the Closing) and the Seller will assign to the Purchaser at the
Closing all of the Seller's right, title and interest in and to all awards, if any, for the taking, and
the Purchaser will be entitled to receive and keep all awards for the taking of the Land or
Improvements or portion thereof.

       10.3.    Survival. The parties' obligations, if any, under this Section X will survive the
Closing.

                              SECTION XI. TERMINATION

        11.1. Default by the Seller. If the Seller has made any representation or warranty
herein that is untrue in any material respect, or if the Seller fails to perform any of the material
covenants and agreements contained herein to be performed by the Seller, then the Purchaser
may, as its sole and exclusive remedy, elect prior to the Closing to terminate this Agreement
and receive a refund of the Deposit.

        11.2. Default by the Purchaser. If the Purchaser has made any representation or
warranty herein that is untrue in any material respect, or if the Purchaser fails to perform any
of the covenants and agreements contained herein to be performed by it, then the Seller may,


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as its sole and exclusive remedy, elect prior to the Closing to terminate this Agreement and
retain the Deposit, as liquidated damages and not as a penalty.

        11.3. Offer Open Date. Pursuant to the Bid Procedures approved by the Bankruptcy
Court, Purchaser may not revoke, withdraw or otherwise terminate the offer reflected in this
Agreement until thirty (30) days after the entry of the Sale Order except as otherwise provided
herein.

                    SECTION XII. COURT APPROVAL PROCESS

        12.1. Court Approval. This Agreement is subject to approval by the Bankruptcy
Court, pursuant to the Sale Order. In the event (a) the Bankruptcy Case is terminated, (b) Seller
is removed as Trustee for USREEB’s estate, such that Seller no longer holds possession and
control of the Property, or (c) the Bankruptcy Court does not approve and authorize this
Agreement and the transactions contemplated herein pursuant to the Sale Order, then this
Agreement shall automatically terminate, the Deposit shall be returned to Purchaser, and
neither party hereto shall have any further obligation to the other hereunder except as expressly
otherwise provided herein.

        12.2. Other Bids. Seller has solicited bids from other prospective Purchasers for the
sale of the Property, on terms and conditions substantially the same in all respects to this
Agreement (or more favorable terms to Seller). No other offers or bids for the Property shall
be allowed after the entry of the Sale Order unless this Agreement is terminated pursuant to
Section XI.

                           SECTION XIII. MISCELLANEOUS

        13.1. Continuing Jurisdiction. The Bankruptcy Court will retain jurisdiction over
the enforcement of this Agreement including the performance of the obligations and
transactions contemplated hereunder.

       13.2. Brokers. Mayo Auction and Realty represents the Seller. In the event that
Purchaser is successful in closing on the purchase of the Property, the parties agree that the six
percent (6%) buyer’s premium will be paid at Closing (or upon entry of any order approving
such compensation (whichever is later)) to Mayo Auction and Realty.

        13.3. Notices. Any notice, request or demand hereunder may be given or furnished
to or served upon a party by email, hand delivery, certified mail, return receipt requested, or
express overnight delivery to the following addresses. Notice shall be deemed given three (3)
Business Days after notice is deposited with the U.S. Mail, the next Business Day following
timely deposit with an express overnight delivery service and at the time of hand delivery or
email delivery.

   if to the Seller, to:

           Eric L. Johnson, Trustee
           Spencer Fane LLP
           1000 Walnut Street, Suite 1400

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               Kansas City, Missouri 64106
               Email: ejohnsontrustee@spencerfane.com

       with a copy to:

               Elizabeth Lally
               Spencer Fane LLP
               13815 FNB Parkway, Suite 200
               Omaha, NE 68154
               Email: elally@spencerfane.com

       If to the Purchaser, to:

               PS Funding, Inc.
               Attn: Matthew Dameron
               2121 Park Pl.
               El Segundo, CA 90245
               Email: mdameron@peerstreet.com

       with a copy to:

               Sandberg Phoenix
               4600 Madison Avenue, Suite 1000
               Kansas City, MO 64112
               Attn: Sharon Stolte
               Email: sstolte@sandbergphoenix.com

By notice given as herein provided, the parties and their respective successors and permitted
assigns may from time to time and at any time change their respective addresses effective upon
receipt by the other party of such notice and each may specify as its address any other address
within The United States of America.

           13.4. Waivers. Any waiver of any term or condition of this Agreement, or of the
   breach of any covenant, representation or warranty contained herein, in any one instance, will
   not operate as or be deemed to be or construed as a further or continuing waiver of any other
   breach of such term, condition, covenant, representation or warranty or any other term,
   condition, covenant, representation or warranty, nor will any failure at any time or times to
   enforce or require performance of any provision hereof operate as a waiver of or affect in any
   manner such party's right at a later time to enforce or require performance of such provision or
   any other provision hereof. This Agreement may not be amended, nor will any waiver, change,
   modification, consent or discharge be effected, except by (a) an instrument in writing executed
   by or on behalf of the party against whom enforcement of any amendment, waiver, change,
   modification, consent or discharge is sought, and (b) if the amendment, modification, consent,
   or discharge is of a material term of this Agreement, a final order of the Bankruptcy Court after
   appropriate notice and opportunity for a hearing to all parties in interest.



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        13.5. Assignment; Successors and Assigns. This Agreement and all rights and
obligations hereunder may not be assigned by any party without the written consent of the
other party. This Agreement will be binding upon and will inure to the benefit of the parties
hereto and their respective successors and permitted assigns. This Agreement is not intended
and may not be construed to create any rights in or to be enforceable in any part by any other
persons.

        13.6. Severability. If any provision of this Agreement is held or deemed to be, or in
fact becomes, invalid, inoperative or unenforceable as applied to any particular case in any
jurisdiction or jurisdictions, or in all jurisdictions or in all cases, because of the conflict of any
provision with any constitution or statute or rule of public policy or for any other reason, such
circumstance will not have the effect of rendering the provision or provisions in question
invalid, inoperative or unenforceable in any other jurisdiction or in any other case or
circumstance or of rendering any other provision or provisions herein contained invalid,
inoperative or unenforceable to the extent that such other provisions are not themselves
actually in conflict with such constitution, statute or rule of public policy, but this Agreement
will be reformed and construed in any such jurisdiction or case as if such invalid, inoperative
or unenforceable provision had never been contained herein and such provision reformed so
that it would be valid, operative and enforceable to the maximum extent permitted in such
jurisdiction or in such case.

       13.7. Counterparts. This Agreement may be executed in counterparts and delivered
by facsimile, portable document format (.pdf) transmission or other electronic format, each of
which shall be deemed an original, and all of which taken together shall constitute one and the
same agreement.

        13.8. Entire Agreement. This Agreement constitutes the entire agreement of the
parties hereto with respect to the subject matter hereof and supersedes and takes the place of
any other instruments purporting to be an agreement of the parties hereto relating to the subject
matter hereof.

       13.9. Performance on Business Days. If the date on which performance or payment
of any obligation of a party required hereunder is other than a Business Day, the time for
payment or performance will automatically be extended to the next Business Day following
such date.

        13.10. Attorneys' Fees. Notwithstanding anything contained herein to the contrary,
if any lawsuit or arbitration or other legal proceeding arises in connection with the
interpretation or enforcement of this Agreement, the prevailing party therein will be entitled to
receive from the other party the prevailing party's costs and expenses, including reasonable
attorneys' fees incurred in connection therewith, in preparation therefor and on appeal
therefrom, which amounts will be included in any judgment therein.

       13.11. Time of Essence. Time is of the essence with respect to the performance of
each and every covenant and obligation, and the giving of all notices, under this Agreement.




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       13.12. Governing Law. This Agreement is governed by, and is to be construed in
accordance with, the laws of the State of Missouri.

        13.13. Certain Interpretive Matters. In construing this Agreement, it is the intent of
the parties that:

           (a)     no consideration may be given to the section headings, all of which are
   inserted for convenience in locating the provisions of this Agreement and not as an aid in
   its construction;

           (b)     no consideration may be given to the fact or presumption that one party had
   a greater or lesser hand in drafting this Agreement;

           (c)     examples are not to be construed to limit, expressly or by implication, the
   matter they illustrate;

           (d)    the word “includes” and its derivatives means “includes, but is not limited
   to,” and corresponding derivative expressions;

           (e)     a defined term has its defined meaning throughout this Agreement and each
   exhibit and schedule to this Agreement, regardless of whether it appears before or after the
   place where it is defined;

           (f)    the meanings of the defined terms are applicable to both the singular and
   plural forms thereof;

              (g)   all references to prices, values or monetary amounts refer to United States
   dollars;

           (h)     accounting terms not defined in this Agreement, and accounting terms
   partly defined to the extent not defined, have the respective meanings given to them under
   generally accepted accounting principles;

           (i)    all references to sections, subsections, paragraphs, clauses, exhibits or
   schedules refer to sections, subsections, paragraphs and clauses of this Agreement, and to
   exhibits or schedules attached to this Agreement, unless expressly provided otherwise;

           (j)     each exhibit and schedule to this Agreement is a part of this Agreement and
   references to the term “Agreement” are deemed to include each such exhibit and schedule
   to this Agreement except to the extent that the context indicates otherwise, but if there is
   any conflict or inconsistency between the main body of this Agreement and any exhibit or
   schedule, the provisions of the main body of this Agreement will prevail;

           (k)    the words “this Agreement,” “herein,” “hereby,” “hereunder,” and words of
   similar import refer to this Agreement as a whole and not to any particular article, section,
   subsection or other subdivision, unless expressly so limited;

              (l)   the word “or” is disjunctive but not necessarily exclusive; and

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       (m)    all references to agreements or laws are deemed to refer to such agreements
or laws as amended or as in effect at the applicable time.

    [Remainder of Page Intentionally Left Blank – Signature Page to Follow]




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The parties have caused this Purchase and Sale Agreement to be executed as of the date first above
written.


                                             SELLER:



                                             By:
                                                   Eric L. Johnson, in his capacity as Chapter 11
                                                   Trustee of US Real Estate Equity Builder LLC,
                                                   and not individually

                                             PURCHASER:

                                             PS Funding, Inc., a Delaware corporation



                                             By:
                                             Name: Matthew Dameron
                                             Title: Authorized Signatory




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                                     EXHIBIT A

                              ASSUMED CONTRACTS

Lease Agreement dated May 1, 2020 by and between USREEB LLC, as landlord, and Alpha One
PM limited liability company, as tenant.




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                                     EXHIBIT B

                                        LAND

Lots 3, 4, 5 and 6, Block 1, ASTOR PLACE, a subdivision in Kansas City, Jackson County,
Missouri.




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                                  EXHIBIT C

                                FORM OF DEED




            (Space above reserved for Recorder of Deeds certification)

                      COVER PAGE FOR RECORDING

1.   Title of Document:              Trustee’s Deed

2.   Date of Document:               ______________, 2022

3.   Grantor:                        Eric L. Johnson, as Chapter 11 Trustee of
                                     US Real Estate Equity Builder LLC

4.   Grantee Name/Address:           _________________
     PSF TX 1, LLC.
     Attn: Matthew Dameron
     2121 Park Pl.
     El Segundo, CA 90245

5.   Legal Description:              See Exhibit A

6.   Book and Page Reference:        N/A



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                                       TRUSTEE’S DEED

        THIS INDENTURE is made this ____ day of __________, 2022, between Eric L.
Johnson, in his capacity as Chapter 11 Trustee of US Real Estate Equity Builder LLC, a Missouri
limited liability company, as Grantor, and PSF TX 1, LLC, a Delaware limited liability company,
as Grantee.

       WHEREAS, Grantor, by virtue of the Order Approving (a) One or More Potential Sale(s)
of All Assets Free and Clear of all Liens, Interests, Claims and Encumbrances, and Related
Procedures and Bid Protection Pursuant to 11 U.S.C. §363, and (b) The Potential Assumption and
Assignment, or Rejection, of Certain Executory Contracts and Unexpired Leases, and Related
Procedures Pursuant to 11 U.S.C. §365, and (c) Related Relief Pursuant to 11 U.S.C. §105 (the
“Sale Order”) issued out of the U.S. Bankruptcy Court for the District of Kansas , in Case No.
20-21358, and dated _______ _____, 2022, does by these presents grant, bargain, sell and convey
unto Grantee, its successors and assigns, all right, title and interest of Grantor “as is, where is”
with no representations or warranty, in and to all of the real property situated in Jackson County,
Missouri and legally described on Exhibit A attached hereto.

        Subject to (i) all exceptions, easements, covenants, restrictions, reservations, rights of way
and other matters of record, (ii) any matters that would be disclosed by a current accurate survey
or physical inspection of said real property, and (iii) real estate taxes and assessments for 2022 and
thereafter.

       TO HAVE AND TO HOLD the above granted premises, together with the appurtenances
and hereditaments and every part thereof, unto Grantee, its successors and assigns.

                      [Signature and Acknowledgement on Following Page]




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       IN WITNESS WHEREOF, Grantor has signed this Trustee’s Deed as of the date first
above written.


                                            _________________________________________
                                            Eric L. Johnson, as Chapter 11 Trustee for the
                                            Bankruptcy Estate of US Real Estate Equity Builder
                                            LLC, and not individually

STATE OF MISSOURI            )
                             ) ss.
COUNTY OF                    )

        On this ________ day of __________, 2022, before me, a Notary Public in and for said
state, personally appeared Eric L. Johnson as Trustee for the Bankruptcy Estate of US Real Estate
Equity Builder LLC, a Missouri limited liability company, known to me to be the person who
executed the within Trustee’s Deed in behalf of the Bankruptcy Estate of US Real Estate Equity
Builder LLC, and acknowledged to me that he executed the same for the purposes therein stated.

                                                 _________________________________
                                                 Notary Public
My commission expires:




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                                      Exhibit A

Lots 3, 4, 5 and 6, Block 1, ASTOR PLACE, a subdivision in Kansas City, Jackson County,
Missouri




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                                            EXHIBIT D

                   ASSIGNMENT AND ASSUMPTION OF CONTRACTS


       THIS ASSIGNMENT AND ASSUMPTION OF CONTRACTS (this “Assignment”) is
made and entered into as of _______________, 2022, by and between Eric L. Johnson, in his
capacity as Chapter 11 Trustee of US Real Estate Equity Builder LLC, a Missouri limited liability
company (the “Seller”), and PS Funding, Inc., a Delaware corporation (the “Purchaser”).

       WHEREAS, the Seller and the Purchaser are parties to that certain Purchase and Sale
Agreement, dated as of [____________], 2022 (the “Purchase Agreement”), pursuant to which
the Seller has agreed to sell, and the Purchaser has agreed to purchase, certain land and other
property as described in the Purchase Agreement; and

        WHEREAS, in connection with the closing of the sale contemplated by the Purchase
Agreement, the Seller has agreed to assign, and the Purchaser has agreed to assume, among other
things, the Assumed Contracts (as such term is defined in the Purchase Agreement and as set forth
on Exhibit A, subject to and upon the terms and conditions hereinafter set forth).

       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
which is hereby mutually acknowledged, the Seller and the Purchaser agree as follows:

       1.      Capitalized terms used and not otherwise defined herein have the meanings given
them in the Purchase Agreement.

        2.      The Seller hereby assigns to the Purchaser all of the Seller's right, title and interest
in and to the Assumed Contracts. The Purchaser hereby assumes, as of the date hereof, all of the
Seller's obligations under the Assumed Contracts accruing from and after the date hereof. The
Purchaser hereby agrees to perform all of the Seller's obligations arising under the Assumed
Contracts from and after the date hereof.

        3.      This Assignment is binding on, and will inure to the benefit of, the parties hereto,
their respective successors in interest, and their respective assigns.

       4.      This Assignment is governed by, and is to be construed in accordance with, the
laws of the State of Missouri.

       5.      Neither party will record this Assignment.

       6.     This Assignment may be executed in counterparts and delivered by facsimile,
portable document format (.pdf) transmission or other electronic format, each of which shall be
deemed an original, and all of which taken together shall constitute one and the same agreement.

                                      [Signature page follows]




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         The parties have executed this Assignment and Assumption of Contracts as of the date
first hereinabove written.

                                     SELLER:

                                     By:
                                           Eric L. Johnson, in his capacity as
                                           Chapter 11 Trustee of US Real Estate
                                           Equity Builder LLC, and not individually


                                     PURCHASER:

                                     PS Funding, Inc., a Delaware corporation



                                     By:
                                     Name: Matthew Dameron
                                     Title: Authorized Signatory




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                                      Exhibit A

                                  Assumed Contracts

Lease Agreement dated May 1, 2020 by and between USREEB LLC, as landlord, and Alpha One
PM limited liability company, as tenant




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EXHIBIT E

               QUIT CLAIM BILL OF SALE AND GENERAL ASSIGNMENT


        FOR GOOD AND VALUABLE CONSIDERATION, the receipt and sufficiency of which
are hereby acknowledged, Eric L. Johnson, in his capacity as Chapter 11 Trustee of US Real Estate
Equity Builder LLC, a Missouri limited liability company (the “Seller”), effective as of the ______
day of ___________, 2022, does hereby REMISE, RELEASE AND FOREVER QUIT CLAIM to
PSF TX 1, LLC, a Delaware limited liability company (the “Purchaser”), and its successors and
assigns, all of Seller’s right, title and interest, if any, in and to all Fixtures, as such term is defined
in that certain Purchase and Sale Agreement, dated as of [____________], 2022 between Seller
and Purchaser (the “Purchase Agreement”).

     EXCEPT AS OTHERWISE PROVIDED IN THE PURCHASE AGREEMENT, SELLER
HAS NOT MADE AND DOES NOT MAKE ANY EXPRESS OR IMPLIED WARRANTY OR
REPRESENTATION OF ANY KIND WHATSOEVER WITH RESPECT TO THE FIXTURES,
INCLUDING WITHOUT LIMITATION, ANY EXPRESS OR IMPLIED WARRANTY OF
MERCHANTABILITY, FITNESS FOR PARTICULAR PURPOSE, DESIGN OR CONDITION,
COMPLIANCE WITH THE REQUIREMENTS OF ANY RULE, LAW, REGULATION,
ORDINANCE, SPECIFICATION OR CONTRACT, OR LATENT DEFECT. EXCEPT AS
OTHERWISE PROVIDED IN WRITTEN AGREEMENT BETWEEN SELLER AND
PURCHASER, THE FIXTURES ARE SOLD “AS IS” AND “WITH ALL FAULTS.”

       If any taxes are assessed against the Fixtures, such taxes shall be prorated between Seller
and Purchaser as of the date of conveyance.

        FURTHERMORE, Seller does hereby assign, transfer, set over and deliver unto Purchaser
all of Seller's right, title, and interest in and to all Licenses and Permits (as defined in the Purchase
Agreement) to the extent any such Licenses and Permits are assignable. Except as otherwise
provided in the Purchase Agreement, this conveyance of Licenses and Permits is made on an “AS-
IS”, “WHERE-IS” basis, without any representations or warranties express or implied from Seller.

         Seller has executed this Quit Claim Bill of Sale and General Assignment effective as of
                                   the date first above-written.

                                         SELLER:

                                          By:
                                                Eric L. Johnson, in his capacity as
                                                Chapter 11 Trustee of US Real Estate
                                                Equity Builder LLC, and not individual




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                               SCHEDULE 1.19

                          List of Excluded Property

1.     Servers and other computer equipment for which the Seller has an interest.




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